Docusign
DocuSign Envelope
         Envelope ID:
                   ID: 73C2DF7D-6F93-4FE5-AE71-4A8B7C3FE180
                       C3CDC7F5-2CAB-4EBA-83EF-76BD64626A0D
                              Case 22-11068-JTD          Doc 22109        Filed 08/01/24        Page 1 of 1



                                        IN THE UNITED STATES BANKRUPTCY COURT
                                             FOR THE DISTRICT OF DELAWARE

                                                                      )
               In re FTX Trading Ltd., et al.,                        )    Chapter 11
                                                                      )
                                         Debtors.                     )    Case No. 22-11068 (JTD)
                                                                      )    (Jointly Administered)
                                                                      )

                                PARTIAL TRANSFER OF CLAIM OTHER THAN FOR SECURITY

            A CLAIM HAS BEEN FILED IN THIS CASE or deemed filed under 11 U.S.C. § 1111(a). Transferee hereby
            gives evidence and notice pursuant to Rule 3001(e)(2), Fed. R. Bankr. P., of the transfer, other than for
            security, of the claim referenced in this evidence and notice.

                     Name of Transferee                                           Name of Transferor

            Hudson Bay Claim Fund LLC                                     SP Multi Claims Holdings, LLC

            Name and Address where notices to transferee                  Last known address:
            should be sent:

            Hudson Bay Claim Fund LLC                                     SP Multi Claims Holdings, LLC
            c/o Hudson Bay Capital Management LP                          2 Greenwich Plaza, Suite 1
            28 Havemeyer Place, 2nd Floor                                 Greenwich, CT 06830 USA
            Greenwich, CT 06830 USA                                       Attn: Operations
            Att’n: Matthew Weinstein / Chad Flick                         Email: 1201792157@tls.ldsprod.com
            Email: mweinstein@hudsonbaycapital.com                               rbeach@pryorcashman.com
            cflick@hudsonbaycapital.com                                   Unique Customer Code: 02506117

                                        **PORTION OF CLAIM TRANSFERRED: 25%**
                                Claim No.                     Creditor Name       Amount             Debtor        Case No.
             Schedule No. 6850448                           [REDACTED]        As stated in POC FTX Trading Ltd. 22-11068




            Name and Address where transferee payments should be sent (if different from above): N/A

            As set forth in the attached Evidence of Transfer of Claim, Transferor has waived to the fullest extent permitted
            by law any right to receive notice or hearing under Bankruptcy Rule 3001.

            I declare under penalty of perjury that the information provided in this notice is true and correct to the best of
            my knowledge and belief.

            By:_______________________________                                    Date: July 19, 2024
            Transferee/Transferee’s Agent


               Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18
                                                         U.S.C. §§ 152 & 3571

                                                                                                           Local Form 138
           DB1/ 144424388.1
